                         IN THE UNITED STATES DISTRICT COURT
         Case 3:19-cr-00009-K Document
                         FOR THE       42 Filed
                                 NORTHERN       08/13/20OFPage
                                             DISTRICT     TEXAS1 of 1 PageID 159
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                  §
                                                          §
VS.                                                       §                     CASE NO.: 3:09-CR-009-K(01)
                                                          §
JERRY LEE FARISH                                          §

                                     REPORT AND RECOMMENDATION
                                      CONCERNING PLEA OF GUILTY

         JERRY LEE FARISH, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count Indictment,
filed on January 1, 2019. After cautioning and examining Defendant Jerry Lee Farish under oath concerning each
of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense charged is supported by an independent basis in fact containing each of the essential elements of such offense.
I therefore recommend that the plea of guilty be accepted, and that Defendant Jerry Lee Farish, be adjudged guilty
of Wire Fraud, in violation of 18 USC § 1343, and have sentence imposed accordingly. After being found guilty of
the offense by the district judge,


G       The defendant is currently in custody and should be ordered to remain in custody.

✔
G       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

       ✔
       G        The Government does not oppose release.
       G        The defendant has been compliant with the current conditions of release.
       ✔
       G        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
       ✔        other person or the community if released and should therefore be released under § 3142(b) or (c).

        G       The Government opposes release.
        G       The defendant has not been compliant with the conditions of release.
        G       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

G       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community if
        released.

        Signed August 13, 2020.

                                                          IRMA
                                                           RMA C. RAMIREZ
                                                          UNITED STATES MAGISTRATE JUDGE

                                                      NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
